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        EXHIBIT 100
2/10/23, 7:14 AM     Case  1:17-cv-02989-AT
                      Ben Adida                         Document
                                on Twitter: "@hydropsyche1             1630-50
                                                           And again, my               Filedis one
                                                                         ideal voting model    02/13/23
                                                                                                   where votersPage     2 of 3BMD or hand marked…
                                                                                                                get to choose

                                                                                                                         Search Twitter


                                         Ben Adida @benadida · Oct 1, 2022
        Home                             A    on the saga of Georgia voting machines where, in one county,
                                         machines were accessed by unauthorized individuals.

        Explore                          Some find GA's reaction insufficient. I think it's solid. I don't think there
                                         remains a big threat, and I think the fear-mongering should stop.
        Notifications                        19                23                   49


                                         Dr. Elizabeth Sudduth @hydropsyche1 · Oct 1, 2022
        Messages
                                         Replying to @benadida
                                         You never explain why we need to use "ballot marking devices" that
        Bookmarks                        create a barcode of our votes instead of ones that just print out how we
                                         voted legibly or just marking paper ballots by hand.

                                             1                                  5
        Twitter Blue
                                         Ben Adida @benadida · Oct 2, 2022
        Profile                          Replying to @hydropsyche1
                                         You're right, I don't explain that in this thread. Here's a longer explainer
                                         that explains things a bit more:
        More
                                         voting.works/perspectives/b…

                                             1                                  1
            Tweet
                                         Dr. Elizabeth Sudduth @hydropsyche1 · Oct 2, 2022
                                         Replying to @benadida
                                         That's great and all, but I live in Georgia, where for years we didn't have
                                         print-outs at all because the Republican establishment insisted we didn't
                                         need them and now the default recounts will just rescan the barcodes
                                         again rather than actual hand recounts of the readable votes

                                             2                                  1


                                         Ben Adida @benadida · Oct 2, 2022
                                         Replying to @hydropsyche1
                                         Yeah, I think it was bad not to have paper ballots, totally agree with you.

                                         In the piece I sent, I explain how bubble ballots suffer from the same
                                         issue as barcodes, albeit more subtly.

                                         The solution is audits, which review text. Georgia has been doing some
                                         since 2020.

                                             1


                                         Dr. Elizabeth Sudduth @hydropsyche1 · Oct 2, 2022
                                         Replying to @benadida
                                         "some" is the operative word there. Recounts are still being done by
                                         barcode.

                                         The barcodes used in Georgia actually code based on the positions on
                                         the ballot, not the names, so they have the same weakness as bubble
                                         ballots in addition to the loss of transparency.

                                             1


                                         Ben Adida @benadida · Oct 2, 2022
                                         Replying to @hydropsyche1
                                         I'm not sure you're reading the doc I sent you. Did you see my point about
                                         how bubble ballots have the same vulnerabilities? The QR code just
                                         makes it more obvious.

                                             1


                                         Dr. Elizabeth Sudduth @hydropsyche1 · Oct 2, 2022
                                         Replying to @benadida
                                         But bubble ballots have the advantage of visible transparency to the voter
                                         without the pointless intercession of very expensive ballot marking
                                         devices. If the two have the exact same vulnerability, why not use the
                                         cheaper, more transparent one? Why push BMDs?

                                             1


                                         Ben Adida @benadida · Oct 2, 2022
                                         Replying to @hydropsyche1
                                         To be clear, I don't push BMDs. I want voter choice, where each voter gets
                                         to choose. I'm also sympathetic to election administrators who choose
                                         all-BMDs as it makes vote centers easier.


https://twitter.com/benadida/status/1576586151217225730                                                                                       1/3
2/10/23, 7:14 AM     Case  1:17-cv-02989-AT
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                                on Twitter: "@hydropsyche1             1630-50
                                                           And again, my               Filedis one
                                                                         ideal voting model    02/13/23
                                                                                                   where votersPage     3 of 3BMD or hand marked…
                                                                                                                get to choose
                                              1


                                          Ben Adida @benadida · Oct 2, 2022
                                          Replying to @benadida and @hydropsyche1
        Home                              Main purpose of BMDs is accessibility. Major disabilities like blindness,
                                          and more minor ones like arthritis that make filling out 40 bubbles quite
                                          challenging. BMDs make a really big difference here.
        Explore
                                          They also happen to simplify modern election logistics, like vote centers.

        Notifications                         1


                                          Ben Adida @benadida · Oct 2, 2022
        Messages                          Replying to @benadida and @hydropsyche1
                                          And because accessibility is required, thus you have to have some BMDs,
                                          I completely understand how some jurisdictions then find it simpler to
        Bookmarks                         make it BMDs for everyone.

                                          My take is that, rather than try to remove them, we should work to make
        Twitter Blue
                                          them better over time.
                                         Tweet
                                            2
        Profile
                                          Ben Adida
                                          @benadida                                                                     Relevant people
        More
                                  Replying to @benadida and @hydropsyche1                                                         Ben Adida
                                                                                                                                                                Follow
                                                                                                                                  @benadida
            Tweet                 And again, my ideal voting model is one where voters get to choose BMD                          Building a voting system everyone
                                  or hand marked, where audits happen regularly, and where machines are                           can trust @voting_works. Past:
                                  maximally transparent and use modern security features.                                         Prod/Eng/Sec @Clever, @Square,
                                  10:53 AM · Oct 2, 2022                                                                          @Mozilla, ..., Harvard, MIT. Mastodon:
                                                                                                                                  @ben@adida.net

                                                                                                                                  Dr. Elizabeth Sudduth
                                                                                                                                                                Follow
                                                                                                                                  @hydropsyche1
                                                                                                                                  urban stream ecologist, carbon geek,
                                          Tweet your reply                                                   Reply                beaver fan, trying to make working in
                                                                                                                                  science suck less | she/her| my
                                                                                                                                  opinions are mine, not the state of
                                          Dr. Elizabeth Sudduth @hydropsyche1 · Oct 2, 2022                                       Georgia's
                                          Replying to @benadida
                                          Then you should be working with us to change the Georgia system which
                                          meets hardly any of those instead of attacking us for criticizing a bad       What’s happening
                                          system.
                                                                                                                        NBA · Last night
                                              1
                                                                                                                        Bucks at Lakers
                                          Ben Adida @benadida · Oct 2, 2022
                                          Replying to @hydropsyche1
                                          I started a nonprofit 4 years ago to build better voting tech, all open-      Politics · Trending
                                          source. Our audit software helps Georgia and 10 other states run audits. I    Moldova
                                          think I'm doing my part.                                                      18.9K Tweets


                                          At the same time, I think it's not helpful to exaggerate problems, which is   Only on Twitter · Trending
                                          what I believe some are doing.                                                #GAPtheseriesep12
                                                                                                                        55.9K Tweets
                                              1

                                                                                                                        Music · Trending
                                          Show replies
                                                                                                                        Linkin Park
                                                                                                                        Trending with Chester, #Lost


                                                                                                                        Trending in United States
                                                                                                                        Amish
                                                                                                                        17.3K Tweets


                                                                                                                        Show more


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